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                       EXHIBIT 15
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                           Developing a database on securities holders:
                                        the case of Japan

                                          Yoshiko Sato and Satoru Hagino1



      1.           Introduction
      Identifying the exact holder or the holding sector of securities is always one of the most
      challenging tasks for statistical compilers.
      In macroeconomic statistics such as the flow of funds accounts, a balance sheet provides
      useful information on the amount of securities held, but aggregating balance sheets does not
      always provide a full picture of the economy. Balance sheets of non-financial corporations
      and some of other financial institutions, for example, are not always available, and
      households do not prepare balance sheets.
      Under such constraints, some central banks and statistical authorities have started projects
      to build up securities databases to store information on securities holders. The ECB (2009)
      explains that its intention of establishing a single authoritative data source – the centralized
      securities database – is aimed at meeting the needs of the ECB itself. The BIS, ECB, and
      IMF (2010) are proponents of focusing on the holding side of securities statistics. This kind of
      movement is gaining ground especially after the recent financial crisis, in which securitized
      products incurred considerable financial losses to their holders, thereby transmitting risks
      throughout the financial system. The Financial Stability Board (2009) advocates the
      importance of knowing where risks actually lie across institutions.
      This paper introduces the Bank of Japan’s recent exploration of the Central Securities
      Depository (CSD) data as a statistical source of securities holders’ information. This paper is
      organized as follows: Section 2 explains the features of the CSD in Japan. Section 3
      introduces the recent achievement as a result of applying the CSD data to the flow of funds
      accounts statistics. Section 4 presents general challenges pertaining to CSD data as a
      statistical source to identify final holders of securities, sometimes referring to the results of
      the survey that the Bank of Japan conducted for seven OECD countries in April and May
      2010. Section 5 offers concluding remarks.



      2.           Features of the CSD in Japan
      CSD data in general are considered to have at least two advantages in data collection. One
      is the centralising of information, as detailed in this section, and the other is having a
      universe wider than that of administratively collected data. While the latter type of data is
      accurate, powerful, and quick, providing a view of the conditions of a specific sector, these
      data would appear to be weak in the sense that a data gap may exist outside the scope of
      authorities.


      1
           Research and Statistics Department, Bank of Japan. The paper “Developing database on securities holders
           information: the case of Japan” was mainly written by Yoshiko Sato, and its annex “Securitization data and
           securitization ratio: some development issues” was mainly written by Satoru Hagino. The views expressed
           here are those of the authors and do not necessarily represent the views of the Bank of Japan. The authors
           are responsible for any errors and omissions.




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  2-A.     The sole platform for book-entry transfers other than those involving central
           government bonds
  The book-entry transfer services for securities other than central government bonds are
  provided by one CSD in Japan, which is the Japan Securities Depository Center, Inc.
  (JASDEC). The book-entry transfer services of central government bonds are provided by
  the Bank of Japan. This paper discusses the former.
  The JASDEC is a privately owned stock company licensed under the Act on Transfer of
  Bonds, Shares, etc. (hereafter “the Law”). It operates the book-entry transfer system for
  general securities such as corporate bonds, stocks, commercial paper and investment trusts.
  Since the JASDEC is the sole platform for book-entry transfers for those securities, the
  information is centralized in this system on a security-by-security basis, thus giving it the
  potential to collectively gather information on securities holdings.
  The Law provides for the company’s book-entry transfer function but does not require it to
  supply data for statistics. So far there is no data exchange contract between the JASDEC
  and the central bank or statistical authorities.
  The book-entry transfer system has been in operation since 2002. The rate of use of the
  system in CP transactions is almost 100%. That of other securities transactions is thought to
  be close to 100%.


  2-B.     Chain of accounts
  The JASDEC system uses a cascade structure of accounts. As illustrated in the attached
  Chart, an investor who wants to make a transaction opens a customer account at either a
  direct account management institution (DAMI) or an indirect account management institution
  (IAMI). Once a deal is reached, the transactional information is transferred from the
  institution at which the investor holds an account to the institution keeping an account of the
  investor’s transaction counterparty. If the investor indicated as “Participant (i)” in the Chart
  sells securities to the investor indicated as “Participant G”, the information on the deal goes
  through institutions E, A, the JASDEC, and finally to C, where securities sold are entered on
  the books under the customer account of G (Case 1). However, if “Participant (i)” sells
  securities to “Participant (ii)”, the transactional information is processed within E. IAMI E
  transfers the transactional amount from Participant (i)’s account to Participant (ii)’s account,
  and the transaction is completed within E (Case 2).
  The DAMI or IAMI – usually banks or securities companies – can also hold its own accounts.
  Those accounts are called self accounts, which are separated from customer accounts in this
  system. As of May 2010, there are 89 DAMI and 407 IAMI in the book-entry transfer system
  for corporate bonds.


  2-C.     Finality of ownership (direct system vs. indirect system)
  One of the features which is different from the CSDs of some other countries is the finality of
  the ownership of securities. In the JASDEC system, neither DAMI nor IAMI takes over the
  ownership of transacted securities at customer accounts, even though the process itself
  occurs in chains of accounts held by such intermediate institutions. Kanda (2009) describes
  the system as the “direct system”. An account management institution merely keeps an
  investor account and provides book-entry transfer services. The legal ownership of securities
  remains with the investor and does not move to any other institution.
  As opposed to the direct system, there are some countries in which an account management
  institution legally holds assets and an investor keeps an equitable interest in these assets, or
  a securities entitlement is moved from an investor to an account management institution. In
  this indirect system, it might be difficult to detect the final holder of securities.


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      2-D.         Security by security
      All data are handled on an individual issue basis in the book-entry transfer system.
      Information available for each issue includes the name of issue, name of issuer, face value,
      maturity, etc. Information on the current outstanding amount is also available. For example,
      with regard to corporate bonds whose data are required to be open to the public, one can
      obtain detailed information by searching the JASDEC website, using the name of the issue or
      the ISIN code as an identifier. This security by security system will enable compilers to sort
      data in accordance with the System of National Accounts, and it also has the potential to be
      used for multi-purpose securities databases.



      3.           Application of CSD data to flow of funds accounts
      The Bank of Japan started discussing the possible use of data as a statistical source with the
      JASDEC in late 2009. This was primarily motivated by the need to secure a more accurate
      source of data for the flow of funds accounts statistics. In March 2010, some statistical
      improvements were made in handling the data, as a result of efforts by JASDEC to respond
      to the Bank of Japan’s inquiry on data definition. Some of these improvements are
      summarized below.

      3-A.         ABCP
      Asset-backed commercial papers (ABCP), a part of structured-financing instruments, had no
      reliable data source before the revision. Figures for the ABCP used to be estimated by
      assuming that they were part of other structured-financing instruments (Sato [2009]).
      Through the aforementioned process of discussions on the data, we confirmed that some
      data released by the JASDEC were consistent with our ABCP definition and decided to use
      them as new source data. As a result, the market size of the ABCP was more accurately
      reflected in the flow of funds accounts statistics.


      3-B.         Local government bonds
      The information on the outstanding amount of local government bonds had not been
      centralized. Before the dematerialization started in 2006, the total outstanding amount had
      been estimated based on registered bonds. There were problems in the frequency of the
      data, which was annual, and in the existence of non-registered bonds (held in certificate) of
      which the amount had been deemed to be non-negligible.
      As the dematerialization proceeded, a majority of local government bonds shifted from
      registered bonds to those in the book-entry transfer system. Since the system is open on the
      web every day and the data are stored security by security, we are able to confirm whether
      each issue falls within the definition of our statistics on any given date. Further, we
      successfully determined that non-registered bonds still exist but that their numbers are not so
      significant as to make estimation impossible. By conducting a series of examinations, we
      then concluded that the CSD’s aggregate data were the most centralized and reliable
      primary data source at present to describe the total market size of local government bonds.


      3-C.         Privately placed asset-backed securities
      Although we have improved the quality of the ABCP, the remaining part of structured-
      financing instruments, such as privately placed asset-backed securities, are still under
      examination. Classification of these issues by type of collateral (e.g., financial assets or real




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  estate) is required in order to designate transaction items as either securitized products or
  other kinds of corporate bonds.
  We expect further improvement in the flow of funds accounts statistics as a result of
  incorporating information about privately placed asset-backed securities from CSD as of
  March 2011.



  4.       Challenges for statistical development of CSD data
  While the CSD has a distinct advantage in data collection because of its electronically
  processed centralized system, challenges remain in developing the data as a source of
  information on final holders.
  In this section, we examine the general challenges pertaining to CSD data as a statistical
  source to identify final holders of securities. We sometimes refer to the results of the survey
  that the Bank of Japan conducted in April and May 2010 asking central banks and statistical
  authorities whether they use CSD data for compiling financial statistics. Seven countries (the
  U.S., the U.K., Australia, Germany, Spain, Chile, and Canada) responded to the survey. The
  results of the survey are summarized in the Table.


  4-A.     Cascade structure of accounts
  The major difficulty in identifying final holders from CSD data is a practical one that exists in
  a cascade structure of accounts. The transactional information is transferred from one
  institution to another as explained in 2-B. However, detailed information on an investor, such
  as the sector in which it is statistically classified, is held only by the account management
  institution at which the investor holds the account. In other words, detailed information on the
  investors is decentralized among account management institutions in the book-entry transfer
  system. System participants know the name, the characteristics and the amount of individual
  securities in the accounts they offer, but they do not have information about the ultimate
  owners of securities when the account is a customer account. For instance, the CSD and
  DAMI, which are located upstream in the chain structure, do not know of changes in the
  ownership of securities when a transaction is completed within the IAMI, as seen in Case 2 in
  section 2-B. Therefore, for statistical purposes, compilers should adopt another measure to
  obtain information on the entire market.
  Most countries, by accessing supplementary source data other than CSD, can overcome the
  cascade account structure problem. In countries that have an indirect system and where it is
  considered difficult to detect final holders, CSD data are either selectively used or are not
  used for compilation at all. In the U.S., CSD data are used along with private vendor data for
  bonds and stocks issued by non-financial corporate businesses. The amount of asset-
  backed securities issued is measured as the assets removed from the balance sheets of
  originators. CSD data are used selectively for ABCP because they cover 100% of the
  market. The amount of ABCP is then used to calculate the amount of asset-backed corporate
  bonds by deducting it from the total amount of asset-backed securities. In the U.K., the CSD
  data are used as part of a quality assurance process but not for data compilation. Instead,
  data collected from London-based issuing and paying agents are used for published
  securities issues statistics.
  Even in the countries with a direct system, data given by intermediate institutions are also
  used for financial statistics. In Spain, for Balance of Payments and International Investment
  Position, the CSD data are used for debt securities issued by residents and held by non-
  residents. The data incorporate the country of residence of the first-known counterpart but
  not of the final holder. If there is a resident custodian between non-resident and CSD, it is the
  resident custodian that has the information, and CSD data do not cover the transaction.


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      Information provided by resident custodians is also used, on an aggregated basis, to identify
      the holdings of securities by non-financial corporations and by households. In Germany, the
      CSD is one of about 2,000 reporting agents.
      In Chile, the Central Bank of Chile does not currently use information given by CSD for the
      compilation of yearly financial accounts statistics. Nevertheless, it is working on a project
      related to quarterly financial accounts, in which CSD data – including information on
      securities holders – will be used intensively.
      In Japan, one of the challenges in using CSD data is to obtain supplementary information
      about customer accounts in the DAMI. At present, accounts of which the JASDEC manages
      the outstanding amount are basically limited to those set up within the JASDEC itself,
      illustrated in the Chart as accounts for A, B, and C. Ideally, the data should cover all
      participants of the book-entry transfer system, including both the DAMI and the IAMI. Most
      major financial institutions participate in the system as DAMIs. If the owners’ information on
      securities in DAMIs’ customer account becomes available with the cooperation of JASDEC
      and DAMIs, the information can be applied to the composition of customer accounts in the
      IAMI to estimate the amount of each type of security held by each sector. The estimation
      could be conducted with relative accuracy since all DAMIs and IAMIs are registered at
      JASDEC and since it is known that the chain structure does not extend to more than a few
      layers.


      4-B.         Confidentiality of customer accounts
      The other reason for the difficulty in obtaining accurate information is the confidentiality of
      customer accounts. Even if the cascade account structure problem is technically solved, the
      confidentiality problem remains. There are self accounts and customer accounts, as
      explained in 2-B. We can relatively easily identify, in our direct system, whether an account
      held by an account management institution is a customer account or a self account. But
      detailed information on a customer, which is necessary for compiling statistics, is usually
      hard to obtain. This is partly because contracts with customers commonly require custodians
      or account management institutions to keep the accounts confidential, thus making them
      reluctant to provide customer information.
      In order to overcome the confidentiality problem, central banks or statistical authorities will
      need a contract with CSD or with custodians stating that only aggregate data will be provided
      and that individual data will not be shared. In the U.S., the Federal Reserve receives data
      from the CSD based on a contract that contains a confidentially clause prohibiting it from
      sharing data of individual firms. From a statistical point of view, compilers do not need firm-
      level information. They only need aggregate data classified according to institutional
      categories of securities holders. Such data do not need to be security by security as long as
      they are correctly reported.


      4-C.         Cooperation with CSD and with securities-related industries
      The third factor is the cooperation with CSD and with securities-related industries. According
      to our survey, all of the three countries using CSD data (the U.S., Australia, and Chile) are
      confirmed to have a contract or an agreement with CSD on obtaining data. This suggests
      that the securities-related industries agree, in principle, to using CSD data. Germany and
      Spain go further; they have official central bank regulations that stipulate a mandatory data
      collection scheme. Therefore, it seems that there is a general understanding of the statistical
      value that CSD data has in the economy.
      Also, in Japan it is understood that the development of financial and securities statistics is an
      important issue and will contribute to the growth of the securities market. Based on such an
      understanding, a conference was held in late 2009 – the Japan Securities Dealers


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  Association was the organizer – with participants such as the members of securities-related
  industries; the Bank of Japan also participated as an observer. Participants argued that the
  availability of additional CSD data could increase understanding of securities markets.



  5.       Concluding remarks
  This paper has introduced the Bank of Japan’s recent exploration of the CSD data as a
  statistical source of information on securities holders. The CSD in Japan has several features
  suitable for data collection: the fact that it is the sole platform for book-entry; the finality of
  ownership; and its security by security nature. Through communication with the CSD, we
  have achieved statistical improvement in our flow of funds accounts statistics mainly for a
  specific market size – the ABCP and local government bonds – and we can expect further
  improvement by incorporating privately placed asset-backed securities in the CSD data next
  year.
  While CSD data have a distinct advantage in data collection because of the electronically
  processed centralized system, there are challenges to overcome in developing the data as a
  source of information on final holders. General challenges are: the cascade structure of
  accounts; confidentiality of customer accounts; and cooperation with CSD and securities-
  related industries.
  Approaches to data gaps being considered to address the recent financial crisis should focus
  on developing a wider and more reliable source of information. Although there are many
  challenges, CSD data will continue to be a strong candidate in shedding light on sectors such
  as households, non-financial corporations, and certain other financial institutions.




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                           Chart : Accounts structure of the JASDEC




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                     Table. CSD data usage in financial statistics


                               Respondent     CSD                                                                                                                   Data used other than CSD
                                              Data usage      Holders' information                         Coverage                              Contract/agreement (i.e. custodians)

                     U.S.      Federal        Ⴜ 1)                                                       Low (ABS)                             Ⴜ
                               Reserve
                                                                                                           High (ABCP)

                     U.K.      Bank of                       ᧩                                            ᧩                                     ᧩                    Ⴜ London based issuing and paying agents
                               England
                     Australia Australian     Ⴜ                                                           Low (voluntary registration)          Ⴜ                    Ⴜ
                               Bureau of
                               Statistics
                     Canada    Statistics                    ᧩                                            ᧩                                     ᧩                    Ⴜ
                               Canada
                     Germany Deutsche   Ⴜ                     Ⴄ Not in all cases final holders             Low                                   Ⴜ                    Ⴜ
                             Bundesbank

                     Spain     Banco de       Ⴜ               Ⴄ debt securities issued by residents and    Low (If between the non-resident      Ⴜ                    Ⴜ custodians, used to identify the holdings of
                               España                           held by non-residents                         and the CSD there is a                                    securities by Non-financial corporations
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                                                                                                              resident custodian, it is the                             and by Households.
                                                                                                              latter who declares.)
                     Chile     Banco           ൺ Ⴜ 2)        ᧩ൺ Ⴜ                                         −                                     ᧩ൺ Ⴜ
                               Central de
                               Chile
                     Japan     Bank of        Ⴜ                ൺ Ⴜ HJ Local government bonds held       High                                                      
                               Japan                                by non-residents 

                        Notes: 1) CSD data is used for bonds and stocks issued by non-financial corporate businesses along with other private vendor data. CSD data gives inadequate coverage for asset-backed bonds
                                  (probably less than 20 percent of the market), while CSD data on asset-backed CP is 100 percent of the market.

                               2) Currently, the Banco Central de Chile does not use the information given from the CSD for the compilation of yearly financial accounts statistics. Nevertheless, it is working in a project
                                  of quarterly financial accounts, where CSD data will be used intensively, including the securities holders' information.

                               3) It is identifiable by aggregating the amount of the tax exempt accounts which are specially allowed for non-residents. The figure is released by JASDEC.




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                                                 Annex:
                               Securitization data and securitization ratio:
                                        some development issues


      This annex discusses the source data on holdings of securitized instruments issued by
      foreign special purpose companies (SPCs) and domestically established SPCs. Such data
      are useful for a comparison with the development of global securitization data. The core of
      this approach concerns the securitization ratio2 and the need to improve its accuracy and
      relevance. Needless to say, improved measurement of ABSs, as discussed above, will
      improve the accuracy of the securitization ratio.



      1.           Measuring Holdings of Securitized Instruments issued by foreign
                   SPCs
      Japan’s securitization ratio started to decline in 2007, while the U.S. ratio appears to have
      increased in 2008 (see Chart 1). Some parts of securitized instruments issued in the U.S.
      were purchased by Japan’s financial institutions in 2008. This implies that the securitization
      ratio needs to be supplemented by the amount of purchases of securitized instruments
      issued abroad. However, measuring such purchases is no easy task.
      In fact, purchases of securitized instruments issued abroad are not statistically separated
      from other outward investments in securities, either in statistics on flow of funds accounts or
      in statistics on balance of payments and international investment positions.
      Ideally, the amount of purchases of securitized instruments issued abroad should be
      identified in these statistics. If this is plausible, such amounts could be shown in a separate
      item within statistics on outward investments in securities. Alternatively, such amounts can
      be included in structured-financing instruments within securities other than shares. However,
      this compilation method blurs the distinction between instruments issued by foreign SPCs
      and those issued by domestically established SPCs and thus a part of from-whom-to-whom
      information on this item is lost.




      2
           A securitization ratio – which is calculated by dividing the amount of securitized instruments (domestically
           issued) by the total amount of financial assets that can be securitized – is a typical indicator derived from the
           flow of funds accounts.




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                         (Chart 1) Securitization Ratios: the U.S. and Japan

      5.0%                                                                                              50.0%

      4.5%                                                                                              45.0%

      4.0%                                                                                              40.0%

      3.5%                                                                                              35.0%

      3.0%                                                                                              30.0%

      2.5%                                                                                              25.0%

      2.0%                                                                                              20.0%

      1.5%                                                                                              15.0%
                                              Japan (left axis,including Japan H ousing Finance)
      1.0%                                                                                              10.0%
                                              Japan (left axis)
      0.5%                                    U .S .(right axis)                                        5.0%

      0.0%                                                                                              0.0%
              98    99     00    01     02     03       04         05   06       07      08        09


  Based on the report on "Leading-Practice Disclosures for Selected Exposures," published in
  April 2008, the Financial Service Agency (FSA) has published data on depository
  corporations’ holdings of securitized instruments. The data start from September 2007 for
  sub-prime instruments, and from March 2008 for securitized instruments other than sub-
  prime instruments (see Chart 2). Sub-prime instruments can be regarded as securitized
  instruments issued abroad. For securitized instruments other than sub-prime instruments, the
  FSA data separate out instruments with underlying assets originating abroad. Such
  instruments can be regarded as securitized instruments issued by foreign SPCs. Thus, FSA
  data may be used as sources for the flow of funds accounts statistics.
  One shortcoming3 of the FSA data is the exclusion of residential mortgage-backed securities
  (RMBS) issued by the U.S. government-sponsored enterprises (GSEs). This is because
  RMBS are not as risky as other securitized instruments such as sub-prime instruments.
  According to the FSA, this information gathering is aimed at determining how the magnitude
  of securitized instruments held affects the soundness of depository corporations. Thus, the
  RMBS are not necessarily the focus of the FSA.
  The FSA data are an example that highlights the difficulty of reconciling macro-prudential
  perspectives and macro-economic perspectives. Specifically, the amount of unrealized and
  realized losses in such securitized instruments, excluding GSEs’ RMBS, exceeds 8% of
  Tier 1 capital. In contrast, based on the FSA data, the ratio of the outstanding of depository
  corporations’ holdings of securitized instruments issued abroad against their total assets
  remains around 0.5%. Even if GSEs’ RMBS are added to the outstanding of depository
  corporations’ holdings of securitized instruments, using a research result for four large
  Japanese depository corporations, the ratio barely exceeds 1%. Thus, the importance of
  securitized instruments from a macro-prudential perspective has increased, while their




  3
       Another shortcoming is that the FSA does not collect data on holdings of securitized instruments by
       institutional investors such as insurance companies and pension funds.




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      importance as a means of financial intermediation by depository corporations has decreased,
      as the maneuver of changing asset composition has been reined in.
      Differences in statistical coverage need to be reconciled in converting macro-prudential data
      to macro-economic data. Specifically, the FSA data are compiled on a consolidated basis,
      i.e., holdings of securitized instruments by foreign subsidiaries and branches of depository
      corporations are included. For the purpose of the flow-of-funds accounts statistics, which are
      compiled on a residency basis, such holdings need to be separated and recorded as
      holdings of the rest-of-the-world sector.

                           (Chart 2) Magnitude of Depository Corporations’ Holdings of
                                      Securitized Instruments Issued Abroad

           0.9%                                                                          9.0%

           0.8%                                                                          8.0%

           0.7%                                                                          7.0%

           0.6%                                                                          6.0%

           0.5%                                                                          5.0%

           0.4%                                                                          4.0%

           0.3%                                                                          3.0%
                                      O utstandings of securitized instrum ents /
           0.2%                       total assets (left axis)                           2.0%
                                      U nrealized and realized losses / T ier1
           0.1%                       capital (right axis)                               1.0%

           0.0%                                                                          0.0%
                           3     6          9    12       3       6          9      12
                                     2008                             2009




      2.           Development of Statistics on domestically established SPCs
      Under Japan’s Act on Securitization of Assets, all SPCs established in Japan must register at
      the FSA and submit their annual financial reports. However, the FSA has not published an
      aggregate balance sheet of SPCs. In the absence of such a balance sheet, data for the
      financial positions of Japan’s SPCs, including their liquidity and leverage ratio, have not been
      compiled. In compiling flow-of-funds accounts statistics, ABSs and their underlying assets
      are recorded using data on ABS issues and balance sheet data of banks’ trust accounts. In
      Japan, trust accounts are generally used as the first receptor of liquidated assets, and trust
      beneficiary rights are held by SPCs as underlying assets of ABSs. Financial assets and
      liabilities of SPCs, other than structured-financing products and underlying assets, such as
      their deposits and shares, need to be estimated using asset/liability composition ratios.
      The composition of financial assets and liabilities of SPCs can be assumed from the balance
      sheet of the Securitization Support Account of the Japan Housing Finance Agency, which is
      disclosed on an annual basis (see Table below). The amount of purchased housing loans
      nearly corresponds to that of RMBS issued; this accounts for about 80% of total
      assets/liabilities. However, the amount of holdings of securities, including the positive and
      negative market value of financial derivatives, cannot be ignored. Thus, the balance sheet of
      such accounts should be made available more frequently for the compilation of flow of funds
      accounts statistics.


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  A conceptual problem exists in the treatment of the Securitization Support Account. At
  present, this account is not included in the flow of funds’ Structured-Financing Special
  Purpose Companies and Trusts sector, because it is not an independent legal entity. Rather,
  it is included in the Government Financial Institutions sector. However, its economic function4
  is similar to that of SPCs used in Japan’s securitization process. In addition, analyzing this
  account in the Structured-Financing Special Purpose Companies and Trusts sector would be
  analytically useful, since the issuance of RMBS by this account represents more than half of
  the recent issuance of securitized instruments. Japan’s securitization ratio, as shown in
  Chart 1, did not fall significantly even after 2007, if one includes RMBS in the calculation of
  the ratio.




  4
      Activities of the Securitization Support Account of Japan Housing Finance Agency aim at facilitating the
      provision of long-term housing loans with fixed interest rates by private financial institutions. Just as SPCs are
      used in Japan’s securitization process, the Securitization Support Account purchases and entrusts housing
      loans of private financial institutions and issues RMBS using the trust beneficiary rights as collateral.




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                                   (Table) Balance Sheet of Securitization Support Account of
                                                Japan Housing Finance Agency
                                                                                                                                   (U nit:m illion yen)

                            item                  FY 2007       FY 2008                               item                      FY 2007       FY 2008

                          (A ssets)                                                                (Liabilities)

       C ash and due from banks                     13,119        18,260 B onds                                                 2,653,273     3,202,424

        C ash                                               0             0   M ortgage-backed securities                       2,591,147     3,071,071

        D ue from banks                                857           761      G eneralm ortgage bonds                             62,142       131,399

        A gency deposits entrusted                  12,262        17,499      B ond issue prem ium s (△)                           △ 17          △ 46

       R eceivables under resale agreem ent                 -     17,494 R eserve for insurance                                           -        105

       Securities                                  219,381       293,982      R eserve for paym ent                                       -        105

        G overnm ent bonds                         122,302       120,782 O ther liabilities                                      259,685       277,053

        Localgovernm ent bonds                       2,510         6,429      A ccrued expenses                                    3,626         4,593

        G overnm ent guaranteed bonds               16,030        16,624      Financialderivative products                       114,053       165,238

        C orporate bonds                            68,240       150,147      Financialderivative product gain carry forw ard     11,256        13,314

        C ertificates of deposit                    10,300                - A ccounts payable                                    128,912        88,940

       P urchased loans                           2,781,729     3,286,301     O ther liabilities                                     249         3,474

       O ther assets                               130,953       181,404      A ccounts payable for other accounts                 1,590         1,494

        A ccrued revenue                             4,386         5,319 A llow ance for bonuses                                     294           300

        Financialderivative products               107,992       152,317 A llow ance for retirem ent benefits                      9,427        10,169
        Financialderivative products
                                                    17,810        22,487 G uarantee obligation                                    28,058       197,097
        loss carry forw ard
        A ccrued insurance prem ium s                   14            43

        O ther assets                                  146           193 Totalliabilities                                       2,950,736     3,687,149

        A ccounts receivable for other accounts        605         1,045

       Tangible fixed assets                        38,532        39,815 (N et assets)

        B uildings                                  16,256        16,323 C apital                                                271,300       357,300

        A ccum ulated depreciation (△)               △ 865       △ 1,738 G overnm ent investm ent                                271,300       357,300

        A ccum ulated im pairm ent losses (△)               -      △ 514 C apitalsurplus                                                  -     △ 873
                                                                          A ccum ulated im paired loss not
        Land                                        22,747         22,747                                                                 -     △ 873
                                                                          included in profit and loss (△)
        A ccum ulated im pairm ent losses (△)               -      △ 352 Loss carry forw ard                                    △ 16,505 △ 19,292

        O ther tangible fixed assets                   511          4,361 U nappropriated loss                                  △ 16,505 △ 19,292
                                                                         (of w hich,gross loss for the
        A ccum ulated depreciation (△)               △ 117       △ 1,005                                                        (△3,297) (△2,787)
                                                                          current fiscalyear)
        A ccum ulated im pairm ent losses (△)               -        △7

       G uarantee obligation reversal               28,058        197,097                      Totalnet assets                   254,795       337,136

       R eserve for possible loan losses (△)       △ 6,242      △ 10,069



                       Totalassets                3,205,530     4,024,284              Totalliabilities and net assets          3,205,530     4,024,284




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